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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      6/16/21


  United States of America,

                 –v–
                                                                    20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                         ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

        On June 7, 2021, the Government submitted an update on the Defendant’s conditions of

confinement. It submitted it under temporary seal to permit the Defendant to propose redactions.

On June 15, 2021, the Defendant proposed narrowly tailored redactions, which the Court adopts

after applying the three-part test articulated by the Second Circuit in Lugosch v. Pyramid Co. of

Onondaga, 435 F.3d 110 (2d Cir. 2006).

       The Government is ORDERED to publicly docket the redacted version of its June 7,

2021 letter by June 17, 2021.

       SO ORDERED.

 Dated: June 16, 2021
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge
